Case 6:22-cv-00028-NKM Document 18-4 Filed 06/13/22 Page 1 of 5 Pageid#: 555




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               LYNCHBURG DIVISION

                                                 )
UNITED STATES,                                   )
                                                 )
               Plaintiffs,                       )
                                                 )
       v.                                        )
                                                   Case No. 6:22-cv-28-NKM
                                                 )
ENVIGO RMS, LLC,                                 )
                                                 )
               Defendant.                        )
                                                 )
                                                 )
                                                 )


                    DECLARATION OF JEANNIE PERRON, JD, DVM


       I, Jeannie Perron, JD, DVM, declare the following to be true and correct to the best of my

knowledge:

       1.      I am a partner at the law firm of Covington & Burling LLP, counsel to Envigo

RMS, LLC (“Envigo”) in this action.

       2.      I am also licensed to practice veterinary medicine in Virginia, currently in

inactive status. Prior to attending the College of Veterinary Medicine at Texas A&M University,

I was a practicing attorney. Following graduation from Texas A&M in 1997, I practiced as a

veterinarian part time. I stopped practicing veterinary medicine in 2001 to focus on my legal

career, but maintained my veterinary license in active status for a number of years thereafter.

My legal practice focusses on animal food and drug law and the use of animals in biomedical

research.




                                                 1
Case 6:22-cv-00028-NKM Document 18-4 Filed 06/13/22 Page 2 of 5 Pageid#: 556




       3.       I submit this declaration in support of Envigo’s Response to Plaintiff’s Motion

for a Preliminary Injunction. To the best of my knowledge, the matters set forth herein are true

and correct.

       4.      On May 23, 2022, Envigo provided to counsel for the United States the name and

contact information for the attending veterinarian at the Cumberland Facility, Dr. Len Edward

Murray, DCLAM, DACVMP. On the same day, Envigo also provided to counsel for the United

States a program of veterinary care. On June 3, 2022, Envigo provided an updated program of

veterinary care, which is attached hereto as Exhibit A.

       5.      In the last three weeks, Envigo has provided to counsel for the United States

approximately 5,000 pages of medical records, birth and death notices, and necropsy reports.

Examples of the medical records provided are attached hereto as Exhibit B. Examples of the

birth and death notices are attached hereto as Exhibit C. Examples of the necropsy reports are

attached hereto as Exhibit D.

       6.      To the best of my knowledge, the chart below summarizes the documents Envigo

has produced to counsel for the United States:

 Production Date        Description
 May 24, 2022           Medical records for any veterinary care

                        Notice of the births

 May 25, 2022           Medical records for any veterinary care

 May 26, 2022           Medical records for any veterinary care

 May 27, 2022           Medical records for any veterinary care

                        Notice of the births

 May 28, 2022           Medical records for any veterinary care

                        Notice and a copy of the necropsy report(s)


                                                 2
Case 6:22-cv-00028-NKM Document 18-4 Filed 06/13/22 Page 3 of 5 Pageid#: 557




                         Notice of the births

 May 29, 2022            Medical records for any veterinary care

 May 30, 2022            Medical records for any veterinary care

                         Notice and a copy of the necropsy report(s)

                         Notice of the births

 June 1, 2022            Medical records for any veterinary care

                         Notice of dog(s) found having injuries attributable to or consistent
                         with a fight, as well as wounds of an unknown cause

                         Notice and a copy of the necropsy report(s)

 June 2, 2022            Medical records for any veterinary care

 June 3, 2022            Medical records for any veterinary care

                         Notice and a copy of the necropsy report(s)

                         Notice of the birth of any puppies

 June 6, 2022            Medical records for any veterinary care

                         Notice and a copy of the necropsy report(s)

 June 7, 2022            Medical records for any veterinary care

 June 8, 2022            Medical records for any veterinary care

                         Notice and a copy of the necropsy report(s)

 June 9, 2022            Medical records for any veterinary care



       7.       Envigo staff also undertook a multi-day effort to inventory all dogs and puppies at

the Cumberland Facility. On May 28, 2022, Envigo provided counsel for the United States with

an inventory of the 3,188 dogs and puppies at the facility. The inventory listed, to the best of the

Cumberland Facility staff’s knowledge, the sex, age, unique identification number, and enclosure




                                                 3
Case 6:22-cv-00028-NKM Document 18-4 Filed 06/13/22 Page 4 of 5 Pageid#: 558




location and number of each beagle at the Facility. An updated inventory (attached hereto as

Exhibit E) was provided on May 30, 2022.

       8.      Envigo has also provided to counsel for the United States notice of any injuries

attributable to or consistent with a fight, as well as wounds of an unknown cause and with

medical records reflecting the treatment each dog received as a result of the injury. These

correspondences are attached hereto as Exhibit F.

       9.      To the best of my knowledge, since the issuance of the Court Order, Envigo has

not euthanized any dogs at the Cumberland Facility without the consent of counsel for the United

States. On May 21, 2022, May 26, 2022, and June 7, 2022, Envigo, through counsel, requested

consent to allow a veterinarian at the Cumberland Facility to euthanize as an animal welfare

measure. These correspondences are attached hereto as Exhibit G.

       10.     Finally, to the best of my knowledge, Envigo has granted regular access to the

Cumberland Facility to agents of the United States, including most recently for an inspection on

June 8, 2022. Agents for the United States were also at the Cumberland Facility from

Wednesday, May 18 through Sunday, May 22, 2022. When I learned on May 18, 2022 that

federal agents were at the facility, I traveled there and was on site from the morning on May 19,

2022 through the evening of May 22, 2022. During that time, I met with federal agents and the

Assistant U.S. Attorney on numerous occasions to assist in the document gathering process,

answer questions, accept service of process, and facilitate communications with my client.




                                                4
Case 6:22-cv-00028-NKM Document 18-4 Filed 06/13/22 Page 5 of 5 Pageid#: 559
